

Matter of Copeland (2024 NY Slip Op 05530)





Matter of Copeland


2024 NY Slip Op 05530


Decided on November 7, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:November 7, 2024

PM-218-24
[*1]In the Matter of Edward J. Copeland, an Attorney. (Attorney Registration No. 1741396.)

Calendar Date:November 4, 2024

Before:Egan Jr., J.P., Clark, Aarons, Pritzker and McShan, JJ.

Edward J. Copeland, Chicago, Illinois, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Edward J. Copeland was admitted to practice by this Court in 1981 and lists a business address in Chicago, Illinois with the Office of Court Administration. Copeland now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Copeland's application.
Upon reading Copeland's affidavit sworn to September 16, 2024 and filed September 19, 2024, and upon reading the October 29, 2024 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Copeland is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Egan Jr., J.P., Clark, Aarons, Pritzker and McShan, JJ., concur.
ORDERED that Edward J. Copeland's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Edward J. Copeland's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Edward J. Copeland is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Copeland is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Edward J. Copeland shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








